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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          8:04CR164
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )          MEMORANDUM
                                          )          AND ORDER
SUZANNE CRANE,                            )
                                          )
                   Defendant.             )

      On the court’s own motion,

       IT IS ORDERED that Defendant Crane’s evidentiary hearing and sentencing
before the undersigned United States district judge are rescheduled to Friday, May 27,
2005, from 12:00-1:30 p.m., in the Special Proceedings Courtroom, 4th Floor, Roman
L. Hruska United States Courthouse, Omaha, Nebraska. Since this is a criminal case,
the defendant shall be present unless excused by the court.

      DATED this 19th day of April, 2005.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       United States District Judge
